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                          E xhibit A
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                     IN THE UNI'IED STA TES D ISTRICT COURT
                         SOU TH ERN DISTRICT OF FLOIUDA

                               CaseN o.:1:22-20104-CR-.
                                                      1B

    UM TED STATES OF AM ERICA ,

                       Plaintiff,
                                                   EX PARTE DECLARATION
                                                   OF RU SSELL M .A OKI,
                                                   Tlv COORD INATW G
    A RCAN GEL PRETEL oRTlz,                       DISCOW RY A TTORN EY ,
    A x ToN Io lx TltIA G o ,                      DESCIUBING RECEN T
    w Al-'rER V EINTEM ILLA ,                      DISCOW RY PRODU CTION S
    clm lsrrtAx sAN oN ,
    JA= s SOLA GE s,
    JOIEPH JOEL Jolm ,
    JosEpllw N CEN T,
    GERM AN A LEJAN DRO luvsltA
    G AR cIA ,
    M v o AN TONIO Pv Aclos
    Pv A clos,and
    FREDERICK JO SEPH BERGM AX N,m .,

                       D efendants.


         1,RussellM .A oki,declare and state:

         1.    Iam thecourt-appointedCoordinathg DiscoveryAttom ey (ûtCDA'').I
   m akethisstatem entbased on m y personalknowledge,inform ation,and belief.

         2.    Defense counselhas asked m e to describe Governm entProductions 17

   tllrough 21.Below isa sum m ary.

         3.    On Febnlary 6,2025,my staffand 1m ceived Governm entProductions 18

   and 19 via USAR .Sincethe lastpriorproduction wàs 16,m y staffasked the Governm ent

   aboutProduction 17.The Govem m entexplained itwaswithholding Production 17 atthis



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   tim e.Thediscovery 1og liststhe following Batesrangesas&ç3500''m aterialthathasnot

   yetbeen produced.The description field ofthe discovery 1og fortheseBatesrangessays,

   Gçlntentionally LeftBlanlc'.

          U 5A 000420831 175A 000420962
          175A 000420968 U 5A 000423652
          U 5A 000423669 U 5A 000423679
          U 5A000423691 U 5A 000423906
          U 5A000423910 U 5A 000424151

          4.    The Production 18 and 19 m aterialsw ereseparated into ten separate

   folders,including a Bergm ann M aterialsfolder,aproduction 18 lçN atives''folderand

   corresponding PDFSfolder,and aproduction 19 GW atives''folderand six corresponding

   PDF folders.W hen exam ined, the entireproduction totaled 27.7 gigabytes.The
                                  .




   Bergm ann M aterialsfolderandPDF folderscontained 24,067 Bates-stam ped PD FS,of

   which 2,025 areplaceholdersforsom eofthe native tiles.Thenativesfoldersconsisted of

    six non-Batesstamped PDF docum ents,eightspreadsheets,three Pow erpointsles,11

   textordatafiles(xml,note,txt,dat),two GPS datafiles(km1),six flesrequiringspecitk
   programsto open (dxf,enc),11program/system files(page),726mp4videofiles,and
    1,272 audio filesinvariousformats(mp3,m4a,ogg,amrl.Theyvaryinnlntime,with the
    largestbeing 38m inutes.

          5.     ThePDFSarewatermarked Ellkestricteé''.W hilereviewing,theCDA'Sstaff
    found only thew aterm ark wassearchable,notthe docllm enttextortheBateénllm bers.

    Severalopticalcharacterrecognition (OCR)programswerekiedto alsomakethetext
    and Batesnum berssearchable,butonly 3,954 ofthedocum entswere successfully

    OCR'ed.Therem ainderhad to be sentto a defense-only technology com pany to utilize

                                              2
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   itsprogram form aking the docllm entssearchable.The OCR work wasnotcom pleted

   tmtilFebruary 14th.

          6.    Production 18 includesatotalof474 m edia files,m adeup of147 videos

   and 327 audio recordings.Production 19 hasatotalof1,523 m edia iiles,including 579

   videosand 944 audio files.Otlrdatabasetraining attorney exam ined the original

   filenam esprovided forthe audio and video slesand m atched them to those 9om earlier

   productions.Ofthe474 m edia filesforProduction 18,114 havepreviously been

   produced with differentBatesnum bers,while361appearto benew m aterials.The size of

   thesenew m aterialsis 1.51gigabytes.Ofthe 1,523 m edia flesforProduction 19,401

   havebeen previously produced butw ith differentBatesnum bers,while 1,122 are new.

   Thesizeofthese new m aterialsis6.36 gigabytes.

                 Them edia Glesw eresbntto a defense-only technology com pany to

   calculatethelength ofal1therecordingsin Productions 18 and 19.The totallength is

   approxim ately 45 hotlrsand 16 m hmtes.

          8.     Forthenon-m ediam aterials,two ofthe spreadsheetsw ere found to have

   been previously produced with differentBatesnum bers.Therem aining m aterialsw ere

   eithernotpreviously produced orcould notbe m atched with apriorBatesnum ber.

          9.     On M arch 7,2025,w ereceived production 21via USAR .The Governm ent

   stated they were withholding production 20.TheGovernm ent'sdiscovery 1og identifed

   theBatesrange ofU 5A 000471034 U 5A 000518424 asrestricted m aterialthathasnotyet

    been produced.The 1og indicatestlaisas&Elntentionally LeftBlank.''




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           10     W hen examined,production 21totaled49.7megabytes.Itconsistsoften

   CSV spreadsheetsand 47 Bates-stam ped PDF docllm ents,w ith ten ofthePDF docum ents

   serving asplaceholdersforthe CSV files.D efense counselh% asked whetherthe

   m aterialsare duplicative ofpriorproductions.Ourdatabase training attorney has

   review ed the m aterialsand w astm able to locatethese filesw ithin priorproductions.

           11.    In total,forProductions 18,19,and 21,there are 1,681 filesthatwere

   confrmedasnotpreviously produced.A majority ofthePDF documentslack their
   originalslenam es,and m any ofthem contain photosthatm ay have been previously

   produced.H owever,w ithoutidentifying inform ation,they cannotbe easily linked to a

   priorBatesnum berto verify whetherthey are'duplicates.

                  The45 hoursofnew audio and video recordingsposethe m ostsignitscant ,




    challenge to review .Unlike docum entsthatcan bekeyword searched w ith the search

   term shighlighted,spoken wordsin audio and video recordingscannotbe searched and

   w illrequlenearreal-tim ereview,with som eneeding to beplayed m ultipletim esl.

           IdeclaretmderpenaltyofperjurytmderthelawsoftheUnited Statesthatthe
    preceding istrueand cèrrect.

           Dated this27thday ofM arch 2025 atSeqttle,W ashington.




    i1have experim ented w ith com puter-generated transcription services.N one are 100% accurate.
    The levelofaccuracy dependson the quality ofthe recording,the language spoken,the use of
    slang,and the use ofcodew ords.The quality can vary between collectionsin a production,
    m aking itdifticultto predicthow w ellatranscription servicew illperform untilthe service is
    retained and logdedwith recordings.Forthesereasons,ourofficerarely recomm ends
    transcribing recordings.

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                                       ussellM .Aoki,W SBA # 15717
                                      Coordinating Discovery Attorney
                                      A okiLaw PLLC
                                      1200 Fifth Ave.,Ste.750
                                      Seattle,W A 98101
                                      Teleyhone:(206)624-1900
                                      Facslmile:(206)442-4396
                                      Email:nps@aokilam com




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